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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  UNITED STATES OF AMERICA,

           Plaintiff,

  v.                                                    Case No. 8:92-cr-369-T-26MAP

  FREDERICK JOHNSON,

           Defendant.
                                      /


                                            ORDER


           THIS MATTER was before the court on an Initial Appearance for violation of

  supervised release. The Defendant waived his preliminary revocation hearing.

           Upon the basis of the affidavits contained in the court file and defendant’s waiver of

  hearing, the court finds probable cause to hold the Defendant for further proceedings before

  the United States District Judge, and it is so ORDERED.

           It is FURTHER ORDERED that the Clerk of the Court shall schedule the final

  revocation hearing before the Honorable Richard A. Lazzara.

           It is FURTHER ORDERED that the Defendant is ordered released pending further

  proceedings. Conditions of release are addressed by separate order.
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           It is FURTHER ORDERED that the Government shall produce for inspection and

  copying any appropriate discovery which the Government intends to use at the final

  revocation hearing at least three (3) days prior to the final hearing.

           Done and Ordered in Tampa, Florida this 17th day of October 2005.




  Copies furnished to:
  District Judge Courtroom Deputy
  Kelley Howard, Assistant United States Attorney
  Adam Allen, Attorney for Defendant
  U.S. Probation
  U.S. Marshal




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